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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

In re:                                                  Chapter 11

FTX TRADING LTD., et al.,                               Case No. 22-11068 (JTD)

                                     Debtors.           (Jointly Administered)



ALAMEDA RESEARCH LTD. and FTX
TRADING LTD.,

                                   Plaintiffs,

                      v.
                                                        Adv. Proc. No. 23-50444 (JTD)
PLATFORM LIFE SCIENCE INC., LUMEN
BIOSCIENCE, INC., GREENLIGHT
BIOSCIENCES HOLDINGS, PBC,
RIBOSCIENCE LLC, GENETIC NETWORKS
LLC, 4J THERAPEUTICS INC., LATONA
BIOSCIENCES GROUP, FTX FOUNDATION,
SAMUEL BANKMAN-FRIED, ROSS
RHEINGANS-YOO, and NICHOLAS
BECKSTEAD,


                                  Defendants.


                    MOTION AND ORDER FOR ADMISSION PRO HAC VICE

         Pursuant to Local Rule 9010-1 and the attached certification, counsel moves the admission pro
hac vice of Maria A. Milano to represent Lumen Bioscience, Inc. in this action.

Dated: September 13, 2023
Wilmington, Delaware

                                                 FOX ROTHSCHILD LLP

                                                 /s/ Stephanie Slater
                                                 Stephanie Slater (DE Bar No. 6922)
                                                 Citizens Bank Center
                                                 919 N. Market Street, Suite 300
                                                 Wilmington, DE 19801
                                                 Tel.: (302) 654-7444
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             CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

        Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am
admitted, practicing and in good standing as a member of the Bar of the State of Washington and submit
to the disciplinary jurisdiction of this Court for any alleged misconduct which occurs in the preparation
or course of this action. I also certify that I am generally familiar with this Court’s Local Rules and with
Standing Order for District Court Fund revised 8/31/16. I further certify that the annual fee of $25.00
has been paid to the Clerk of Court for District Court.

                                                      FOX ROTHSCHILD LLP

                                                      /s/ Maria A. Milano
                                                      Maria A. Milano, WSBA #29499
                                                      1001 Fourth Avenue, Suite 4400
                                                      Seattle, WA 98154
                                                      Tel: 206.624.3600
                                                      Fax: 206.389.1708
                                                      Email: mamilano@foxrothschild.com

                                    ORDER GRANTING MOTION

        IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.




        Dated: September 13th, 2023                            JOHN T. DORSEY
        Wilmington, Delaware                                   UNITED STATES BANKRUPTCY JUDGE



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